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                       RECOMMENDATION TERMINATING
                     PROBATION PRIOR TO EXPIRATION DATE


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                   )
                                           )
                            vs.            )       Docket Number: 2:03CR00083-03
                                           )
Susana MENDEZ                              )
                                           )


LEGAL HISTORY:

On November 22, 2004, the above-named was placed on probation for a period of three
years, which commenced on November 22, 2004. Special conditions included a
requirement for Warrantless search; Home detention for a period of 180 days with
electronic monitoring; Comply with all requirements of CPS social worker for family
reunification.


SUMMARY OF COMPLIANCE:

Susana Mendez has complied with all conditions and special conditions of probation, and
has not been involved in any further criminal activities. It is the opinion of the probation
officer that Susana Mendez has derived maximum benefit from supervision and is not in
need of continued supervision.


RECOMMENDATION:

It is, therefore, respectfully recommended that probation in this case be terminated early.

                                  Respectfully submitted,


                                  /s/ Rafael G. Loya
                                  RAFAEL G. LOYA
                        Senior United States Probation Officer
                                                                                         Rev. 05/2006
                                               1            EARLY TERMINATION ~ RECOMMENDATION.MRG
          Case 2:03-cr-00083-KJM Document 117 Filed 02/14/07 Page 2 of 4


Re:      Susana MENDEZ
         Docket Number: 2:03CR00083-03
         RECOMMENDATION TERMINATING
         PROBATION PRIOR TO EXPIRATION DATE


Dated:           January 17, 2007
                 Elk Grove, California
                 RGL/cj



REVIEWED BY:              /s/ Deborah A. Spencer
                         DEBORAH A. SPENCER
                         Supervising United States Probation Officer


RGL:cj
cc:   AUSA Richard J. Bender (Pursuant to Rule 32, notice of proposed relief to the probatioiner is
         being provided. If no objection is received from you within 14 days, the probation officer's
         Recommendation and Prob35-Order Terminating Probation Prior to Expiration Date, will be submitted
         to the Court for approval.)




                                                                                                Rev. 05/2006
                                                    2              EARLY TERMINATION ~ RECOMMENDATION.MRG
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PROB 35                  ORDER TERMINATING PROBATION
                           PRIOR TO EXPIRATION DATE


                         UNITED STATES DISTRICT COURT
                                   FOR THE
                        EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                         )
                                                 )
                           vs.                   )    Docket Number: 2:03CR00083-03
                                                 )
Susana MENDEZ                                    )
                                                 )


On November 22, 2004, the above-named was placed on probation for a period of three
years. She has complied with the rules and regulations of supervision. It is accordingly
recommended that she be discharged from supervision.

                                 Respectfully submitted,


                                  /s/ Rafael G. Loya
                                  RAFAEL G. LOYA
                        Senior United States Probation Officer


Dated:        January 17, 2007
              Elk Grove, California
              RGL/cj



REVIEWED BY:          /s/ Deborah A. Spencer
                    DEBORAH A. SPENCER
                    Supervising United States Probation Officer




                                                                                       Rev. 05/2006
                                           3               EARLY TERMINATION - ORDER (PROB35).MRG
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Re:   Susana MENDEZ
      Docket Number: 2:03CR00083-03
      ORDER TERMINATING PROBATION
      PRIOR TO EXPIRATION DATE



                                  ORDER OF COURT

It is ordered that the probationer be discharged from probation, and that the proceedings
in the case be terminated.




February 13, 2007
Date                                           FRANK C. DAMRELL, JR.
                                               United States District Judge


RGL/cj
Attachment: Recommendation
cc:   United States Attorney's Office
      FLU Unit, AUSA's Office
      Fiscal Clerk, Clerk's Office




                                                                                       Rev. 05/2006
                                           4               EARLY TERMINATION - ORDER (PROB35).MRG
